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                 UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                               Case No. 06-cr-97-01/06-SM

Edward Cervantes Arias,
Jose Luis Alsina-Ortiz,
Leslie B. Smith, Allen R. Hall,
Allen R. Bailey and Terri Hodgkins

                                      ORDER

      Defendant Terri Hodgkins’s motion to continue the final pretrial

conference and trial is granted (document no. 68). Trial has been rescheduled

for the September 2007 trial period. Defendant Hodgkins shall file a waiver of

speedy trial rights not later than May 21, 2007. On the filing of such waiver,

her continuance shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: August 24, 2007 at 10:30 a.m.

      Jury Selection: September 5, 2007 at 9:30 a.m.
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      SO ORDERED.



                                  ____________________________
                                    Steven J. McAuliffe
                                    Chief Judge

May 11, 2007

cc:   Paul Garrity, Esq.
      Stanley Norkunas, Esq.
      Paul Pappas, Esq.
      Richard N. Foley, Esq.
      Jose A. Espinosa, Esq.
      Michael Sheehan, Esq.
      Clyde R.W.Garrigan, AUSA
      US Probation
      US Marshal




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